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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                  4:08CR3148-8
                                           )
              V.                           )
                                           )
ANGEL M. KOSKI,                            )                     ORDER
                                           )
                     Defendant.            )

      After considering the views of the experienced U.S. Pretrial Services Officer, and the
defendant’s prior history of noncompliance,

      IT IS ORDERED that the motion for reconsideration (filing 255) submitted by the
defendant is denied.

       DATED this 18th day of August, 2009.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          United States District Judge
